Case 8:22-cv-01562-JWH-KES         Document 46   Filed 01/10/23    Page 1 of 28 Page ID
                                         #:407



   1 BRIAN R. BLACKMAN (SBN 196996)
       bblackman@blaxterlaw.com
   2 J.T. WELLS BLAXTER (SBN 190222)
       wblaxter@blaxterlaw.com
   3 DAVID P. ADAMS (SBN 312003)
       dadams@blaxterlaw.com
   4 BLAXTER | BLACKMAN LLP
       601 Montgomery Street, Suite 1110
   5 San Francisco, California 94111
       Telephone: (415) 500-7700
   6
       Attorneys for defendants WHOLE
   7 FOODS MARKET SERVICES, INC.;
     WHOLE FOODS MARKET CALIFORNIA,
   8
     INC.; and MRS. GOOCH’S NATURAL FOOD
   9 MARKETS, INC.

  10                             UNITED STATES DISTRICT COURT
  11                        CENTRAL DISTRICT OF CALIFORNIA
  12 SARA SAFARI, PEYMON                            Case No. 8:22-cv-01562-JWH (KESx)
     KHAGHANI, on behalf of themselves
  13 and all others similarly situated, and         DEFENDANTS’ NOTICE OF
     FARM FORWARD, on behalf of the                 MOTION AND MOTION TO
  14 general public,                                DISMISS PLAINTIFFS’ FIRST
                                                    AMENDED COMPLAINT;
  15               Plaintiffs,                      MEMORANDUM OF POINTS
                                                    AND AUTHORITIES IN
  16         v.                                     SUPPORT OF MOTION TO
                                                    DISMISS
  17 WHOLE FOODS MARKET
       SERVICES, INC., a Delaware                   [Request for Judicial Notice, and
  18 corporation, WHOLE FOODS                       [Proposed] Order filed concurrently
       MARKET CALIFORNIA, INC., a                   herewith]
  19 California corporation, MRS. GOOCH’S
       NATURAL FOOD MARKETS, INC.,                  Date:     March 10, 2023
  20 doing business as Whole Foods Market,          Time:     9:00 AM
       a California Corporation,                    Place:    411 West Fourth Street
  21                                                          Courtroom 9D, 9th Floor
                   Defendants.                                Santa Ana, California 92701
  22
                                                    The Honorable John W. Holcomb
  23
                                                    Complaint Filed: August 23, 2022
  24                                                Trial Date:      Not Set
  25

  26

  27
                                                                  Case No. 8:22-CV-01562-JWH (KESx)
  28
                                                        DEF.’S NTC. Of MTN & MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46     Filed 01/10/23     Page 2 of 28 Page ID
                                      #:408



   1                NOTICE OF MOTION AND MOTION TO DISMISS
   2        TO THE HONORABLE COURT, ALL PARTIES AND THEIR COUNSEL
   3 OF RECORD:

   4        PLEASE TAKE NOTICE that on March 10, 2023 at 9:00 AM, or as soon
   5 thereafter as counsel may be heard in Courtroom 9D of the above-entitled Court,

   6 located in the United States District Court, 411 West 4th Street, Santa Ana,

   7 California, defendants Whole Foods Market California, Inc., Mrs. Gooch’s Natural

   8 Food Markets, Inc. and Whole Foods Market Services, Inc. (collectively

   9 “Defendants”), will and hereby move to dismiss the First Amended Complaint of

  10 plaintiffs Sara Safari, Peymon Khaghani and Farm Forward (collectively

  11 “Plaintiffs”) pursuant to Federal Rules of Civil Procedure (“Fed. R. Civ. P.”) 9(b),

  12 12(b)(1) and 12(b)(6) on the following grounds:

  13        1.     Defendants move to dismiss Plaintiffs’ claims under Fed. R. Civ. P.
  14 12(b)(1) on the grounds that Plaintiffs lack Article III standing, and statutory

  15 standing under the UCL, FAL, and CLRA. Plaintiffs Safari and Khaghani have not

  16 alleged facts demonstrating they suffered a particularized harm or economic injury as

  17 a result of Defendants’ alleged actions. Further, Plaintiff Farm Forward has not

  18 alleged facts demonstrating a diversion of resources based on Defendants’

  19 advertising statements.

  20        2.     Defendants move to dismiss Plaintiffs’ fraud claims under Fed. R. Civ.
  21 P. 9(b) and 12(b)(6). Plaintiffs have not sufficiently alleged the when, why or how

  22 of their false advertising and fraud claims.

  23        3.     Defendants move to dismiss Plaintiffs’ claim for breach of warranty
  24 because Plaintiffs have not alleged facts sufficient to show that Defendants breached

  25 the alleged warranty.

  26        4.     Defendants move to dismiss Plaintiffs’ unjust enrichment claim because
  27 California does not recognize a separate claim for unjust enrichment and because it is
                                                                  Case No. 8:22-CV-01562-JWH (KESx)
  28
                                                        DEF.’S NTC. Of MTN & MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46      Filed 01/10/23    Page 3 of 28 Page ID
                                      #:409



   1 otherwise derivative of Plaintiffs false advertising and fraud claims, which fail for

   2 the reasons set forth above.

   3        This Motion is made following the conferences of counsel pursuant to Civil
   4 L.R. 7-3 which took place on December 20, 2022, and subsequent communications

   5 on December 21, 22 and 30, 2022.

   6        This Motion is based upon this Notice of Motion and Motion, the attached
   7 Memorandum of Points and Authorities, the accompanying Request for Judicial

   8 Notice, all other pleadings, papers, records and documentary materials on file in this

   9 action, and such further evidence and argument as the Court may allow at the hearing

  10 on this Motion.

  11 Dated: January 10, 2023                  BLAXTER | BLACKMAN LLP
  12

  13                                    By:
                                                       /s/ Brian R. Blackman
  14                                                BRIAN R. BLACKMAN
                                                      Attorneys for Defendant
  15                                           WHOLE FOODS MARKET SERVICES,
                                                 INC.; WHOLE FOODS MARKET
  16                                           CALIFORNIA, INC.; MRS. GOOCH’S
                                                NATURAL FOOD MARKETS, INC.
  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                              -2 -                  Case No. 8:22-CV-01562-JWH (KESx)
                                                     DEF.’S NTC. of MTN. & MTN. TO DISMISS CMPLT.
Case 8:22-cv-01562-JWH-KES               Document 46               Filed 01/10/23          Page 4 of 28 Page ID
                                               #:410



   1                                          TABLE OF CONTENTS
   2
                                                                                                                             Page

   3 I.      INTRODUCTION ............................................................................................. 1
   4 II.     SUMMARY OF ALLEGATIONS AND FACTS ............................................ 2
   5         A.      The Parties ............................................................................................... 2
   6                 1.        Defendants .................................................................................... 2
   7                 2.        The Individual Plaintiffs ............................................................... 3
   8                 3.        Farm Forward ............................................................................... 4
   9         B.      Plaintiffs’ Claims .................................................................................... 4
  10         C.      Procedural History .................................................................................. 5
  11 III.    LEGAL ARGUMENT ...................................................................................... 6
  12         A.      Plaintiffs Fail to Plead the Necessary Facts to Establish Their
                     Standing to Assert the Alleged Claims. .................................................. 6
  13
                     1.        The Individual Plaintiffs Failed to Allege a Particularized
  14                           or Concrete Injury. ........................................................................ 7
  15                 2.        The Individual Plaintiffs Have Not Alleged an Economic
                               Injury Caused by Defendants’ Alleged Advertising .................. 11
  16
                     3.        Farm Forward Lacks Standing to Assert its FAL and UCL
  17                           Claims. ........................................................................................ 12
  18         B.      Plaintiffs’ Fraud Claims Fail for Lack of Particularity ......................... 15
  19         C.      Plaintiffs’ Express Warranty and Unjust Enrichment Claims
                     Fails. ...................................................................................................... 18
  20
                     1.        Plaintiffs’ Express Warranty Claims Fail. .................................. 19
  21
                     2.        Plaintiffs’ Unjust Enrichment Claims Fail. ................................ 19
  22
       IV.   CONCLUSION ............................................................................................... 20
  23

  24

  25

  26

  27

  28
                                                             -i-                          Case No. 8:22-CV-01562-JWH (KESx)
Case 8:22-cv-01562-JWH-KES                  Document 46           Filed 01/10/23          Page 5 of 28 Page ID
                                                  #:411



   1
                                             TABLE OF AUTHORITIES

   2                                                FEDERAL CASES
                                                                                                                          Page
   3

   4 Am. Diabetes Ass’n v. U.S. Dep.’t of the Army

   5
          938 F.3d 1147 (9th Cir. 2019) ............................................................................... 12

   6 Barrett v. Optimum Nutrition
          2022 WL 2035959 (C.D. Cal. Jan. 12, 2022) ........................................................ 19
   7

   8
       Birdsong v. Apple
         590 F.3d 955 (9th Cir. 2009) ................................................................................... 7
   9
       Cantrell v. City of Long Beach
  10     241 F.3d 674 (9th Cir. 2001) ................................................................................... 7
  11
       Cetacean Community v. Bush
  12     386 F.3d 1169 (9th Cir. 2004) ................................................................................. 7
  13
     Choi v. Kimberly-Clark Worldwide, Inc.
  14   2019 WL 4894120 (C.D. Cal. Aug. 28, 2019) ...................................................... 20
  15 Colwell v. Dept. of Health & Human Servs.

  16      558 F.3d 1112 (9th Cir. 2009) ................................................................................. 6

  17 Friends of the Earth v. Sanderson Farms Inc.
          992 F.3d 939 (9th Cir. 2021) ................................................................................. 12
  18

  19 Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc.
          528 U.S. 167 (2000) ................................................................................................. 7
  20
       Hall v. Sea World Entertainment, Inc.
  21
        2015 WL 9659911 (S.D. Cal. Dec. 23, 2015) ................................................. 16, 17
  22
       Havens Realty Corp. v. Coleman
  23    455 U.S. 363 (1982) ............................................................................................... 12
  24
     In Defense of Animals v. Sanderson Farms, Inc.
  25   2021 WL 4243391 (N.D. Cal. Sept. 17, 2021) ................................................ 12, 15
  26 In re Arris Cable Modem Consumer Litig.

  27      2018 WL 288085 (N.D. Cal. Jan. 4, 2018) ............................................................ 19

  28
                                                               -ii-                      Case No. 8:22-CV-01562-JWH (KESx)
Case 8:22-cv-01562-JWH-KES                 Document 46            Filed 01/10/23          Page 6 of 28 Page ID
                                                 #:412



   1 Joseph v. Ralphs Grocery Co.
          2016 WL 1056648 (C.D. Cal. Mar. 4, 2016)..................................................... 7, 11
   2

   3
       Kearns v. Ford Motor Co.
         567 F.3d 1120 (9th Cir. 2009) ............................................................................... 16
   4
       Krause-Pettai v. Unilever United States, Inc.
   5
         2021 WL 1597931 (S.D. Cal., Apr. 23, 2021)....................................................... 19
   6
       Levay v. AARP, Inc.
   7     2019 WL 2108124 (C.D. Cal. May 14, 2019) ....................................................... 16
   8
     Meaunrit v. The Pinnacle Foods Group, LLC
   9  2010 WL 1838715 (N.D. Cal., May 5, 2010) ........................................................ 18
  10 Mohamed v. Kellogg Co.

  11      2015 WL 12469107 (S.D. Cal. Aug. 19, 2015) ....................................................... 6

  12 Odom v. Microsoft Corp.
          486 F.3d 541 (9th Cir. 2007) ................................................................................. 15
  13

  14 Pels v. Keurig Dr. Pepper, Inc.
          2019 WL 5813422 (N.D. Cal. Nov. 7, 2019) ........................................................ 10
  15
       Sanders v. Apple Inc.
  16
         672 F. Supp .2d 978 (N.D. Cal. 2009) ................................................................... 19
  17
       Schmier v. United States Court of Appeals
  18     279 F.3d 817 (9th Cir. 2009) ................................................................................... 7
  19
     Spokeo, Inc. v. Robins
  20   136 S. Ct. 1540 (2016) ............................................................................................. 9
  21 United Food & Commercial Workers Union Local 751 v. Brown Grp., Inc.

  22      571 U.S. 544 (1996) ............................................................................................... 12

  23 United States v. Hays
          515 U.S. 737, 742 (1995) ......................................................................................... 6
  24

  25 Vess v. Ciba-Geigy Corp. USA
          317 F.3d 1097 (9th Cir. 2003) ......................................................................... 15, 18
  26
       Wallace v. ConAgra Foods, Inc.
  27
        747 F.3d 1025 (8th Cir. 2014) ........................................................................... 9, 10
  28
                                                              -iii-                      Case No. 8:22-CV-01562-JWH (KESx)
Case 8:22-cv-01562-JWH-KES                  Document 46            Filed 01/10/23          Page 7 of 28 Page ID
                                                  #:413



   1 White v. Lee
           227 F.3d 1214 (9th Cir. 2000) ................................................................................. 6
   2

   3
       Whitson v. Bumbo
        2009 WL 1515597 (N.D. Cal. Apr. 16, 2009) ................................................. 10, 11
   4
                                            CALIFORNIA STATE CASES
   5
                                                                                                                          Page
   6
       Durell v. Sharp Healthcare
   7
        183 Cal. App. 4th 1350 (2010) .............................................................................. 11
   8
       Kwikset Corp. v. Sup. Ct.
   9    51 Cal. 4th 310 (2011) ........................................................................................... 11
  10
     McBride v. Boughten
  11  123 Cal. App. 4th 379 (2004) ................................................................................ 19
  12 Melchior v. New Line Products, Inc.

  13       106 Cal. App. 4th 779 (2003) ................................................................................ 19

  14                                                          RULES
                                                                                                                          Page
  15

  16 Fed. R. Civ. P. 12(b)(1) ............................................................................................... 6

  17 Fed. R. Civ. P. 9(b) .................................................................................................... 15

  18
                                                           STATUTES
  19                                                                                                                      Page
  20
       Cal. Bus. & Prof. Code § 17204 ................................................................................ 11
  21
       Cal. Bus. & Prof. Code § 17535 ................................................................................ 11
  22

  23

  24

  25

  26

  27

  28
                                                               -iv-                       Case No. 8:22-CV-01562-JWH (KESx)
Case 8:22-cv-01562-JWH-KES       Document 46         Filed 01/10/23   Page 8 of 28 Page ID
                                       #:414



   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2                                 I.    INTRODUCTION
   3         In this action, plaintiffs Sara Safari, Peymon Khaghani and Farm Forward
   4 (collectively “Plaintiffs”) claim that defendants Whole Foods Market Services, Inc.

   5 (“WFM Services”), Whole Foods Market California, Inc. (“WFM California”) and

   6 Mrs. Gooch’s Natural Food Markets, Inc. (“Mrs. Gooch’s” and collectively

   7 “Defendants”) have falsely and misleadingly represented that the beef products sold

   8 in Whole Foods Market stores in California were raised without using antibiotics.

   9 In order to establish the presence of antibiotics across all beef products sold at

  10 Whole Foods Market, Plaintiffs allege that Farm Forward tested an undisclosed

  11 number of undisclosed beef products purchased from Whole Foods Market stores in

  12 several states using an undisclosed testing method and detected an undisclosed

  13 amount of monensin sodium residue in a single unspecified product. See ECF No.

  14 35, ¶¶2 & 59-60.

  15         These woefully deficient allegations do not establish a pattern or practice of
  16 antibiotic use by all Whole Foods Market beef suppliers, nor do they provide a

  17 plausible basis from which the Court may infer the beef products Plaintiffs

  18 purchased, or more broadly all beef products sold at Whole Foods Market, were

  19 raised using antibiotics. Plaintiffs allegations, therefore, are insufficient to establish

  20 Defendants’ representations of “No Antibiotics, Ever” and “No antibiotics or add

  21 growth hormones, ever” are false and misleading to California consumers and to

  22 state each of the claims alleged in the FAC.

  23         First, plaintiffs Safari and Khaghani failed to allege facts establishing their
  24 standing under Article III and California’s consumer statutes. They have not alleged

  25 facts demonstrating that they purchased beef products from a Whole Foods Market

  26 that were raised using antibiotics, nor sufficient facts from which the Court might

  27 plausibly infer that the beef products they purchased were raised using antibiotics.

  28
                                               -1-                  Case No. 8:22-CV-01562-JWH (KESx)
                                                                 MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES       Document 46        Filed 01/10/23   Page 9 of 28 Page ID
                                       #:415



   1 Thus, they have not alleged any concrete or particularized injury nor a loss of

   2 money or property as a result of Defendants’ alleged actions. Similarly, the

   3 organizational plaintiff, Farm Forward, failed to show how Defendants’ alleged

   4 misrepresentations forced it to divert its resources. Indeed, Farm Forward’s

   5 allegations show its investigation of Whole Foods Market stores was a continuation

   6 of its stated mission. Because Plaintiffs lack standing, the case should be dismissed

   7 under Rule 12(b)(1).

   8        Second, Plaintiffs’ claims, which are all based in fraud and rely on the same
   9 unified course of fraudulent conduct, are not alleged with the particularity required

  10 by Rule 9(b). Plaintiffs fail to allege facts demonstrating why Defendants’

  11 representations are false, and how they were damaged. Notably, Plaintiffs failed to

  12 allege any details about what beef products they purchased or the alleged testing

  13 they undertook. Further, their allegations fail to tie the beef products Plaintiffs

  14 purchased to the antibiotic testing in any meaningful way. Without these essential

  15 facts, Plaintiffs’ claims fail to meet Rule 9(b)’s particularity requirements and

  16 should be dismissed. Finally, Plaintiffs’ claim for unjust enrichment is not a stand-

  17 alone claim under California law and should be dismissed.

  18               II.      SUMMARY OF ALLEGATIONS AND FACTS
  19 A.     The Parties
  20        1.     Defendants
  21        Defendant WFM Services is a Delaware corporation based in Austin, Texas.
  22 ECF No. 35, ¶24. WFM Services owns and operates the Whole Foods Market

  23 website, located at www.wholefoodsmarket.com. Id. Plaintiff alleges that WFM

  24 Services advertises Whole Foods Market’s beef products in a manner indicating

  25 they are raised without antibiotics and directs consumers to Whole Foods Market

  26 stores in California where they can purchase the challenged beef products. Id.

  27        Defendants WFM California and Mrs. Gooch’s are California corporations
  28
                                              -2-                  Case No. 8:22-CV-01562-JWH (KESx)
                                                                MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46 Filed 01/10/23       Page 10 of 28 Page ID
                                      #:416



   1 based in Emeryville and Glendale, respectively. ECF No. 35, ¶¶25 & 27. WFM

   2 California owns and operates the Whole Foods Market stores located in the

   3 Northern California Region (generally the stores in Fresno and north of Fresno). Id.,

   4 ¶26. Mrs. Gooch’s owns and operates the Whole Foods Market stores located in the

   5 Southern Pacific Region (generally the stores south of Fresno). Id., ¶28. Plaintiffs

   6 contend WFM California and Mrs. Gooch’s market and sell beef products to

   7 California consumers under the slogans “No Antibiotics, Ever” and “No antibiotics

   8 or added growth hormones, ever.” Id., ¶¶12, 19 & 37.

   9        2.     The Individual Plaintiffs
  10        Plaintiffs Sara Safari and Peymon Khaghani (collectively the “Individual
  11 Plaintiffs”) are individual consumers residing in Tustin and Moorpark, California.

  12 See ECF No. 35, ¶¶9 & 16. The Individual Plaintiffs allege they purchased “Beef

  13 Products” on numerous occasions from their local Whole Foods Market stores in

  14 Southern California over the last several years. Id., ¶¶10-11 &17-18. Plaintiff

  15 Khaghani also alleges he purchased “Beef Products” on several occasions from

  16 Whole Foods Market stores in the Bay Area in 2020. Id., ¶18. Plaintiffs define

  17 “Beef Products” as simply “beef.”1 Id., ¶1.

  18        The Individual Plaintiffs allege they believed the beef products they
  19 purchased were raised without the use of antibiotics and pharmaceuticals. Id., ¶¶12-

  20 13 & 18-20. Specifically, they allege they relied on the marketing slogans and

  21 representations “No Antibiotics Ever” and “No antibiotics or growth hormones,

  22 ever” in making their purchases. Id. They further allege that they saw these

  23 statements on in-store signage, product labels, the Whole Foods Market website and

  24 on listings on Amazon.com. Id., ¶¶12 & 19.

  25
       1
  26
       Plaintiffs’ initial complaint included a list of more than 40 products they alleged
     fell within their definition of “Beef Products.” See ECF No. 1, ¶40. Plaintiffs
  27 removed this allegation from their First Amended Complaint, adding to the

  28
     ambiguity of their current allegations and claims. See gen., ECF No. 35, ¶¶37-40.
                                               -3-              Case No. 8:22-CV-01562-JWH (KESx)
                                                             MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES       Document 46 Filed 01/10/23      Page 11 of 28 Page ID
                                       #:417



   1        3.       Farm Forward
   2        Plaintiff Farm Forward is a 501(c)(3) public interest organization formed in
   3 2007 and based in Portland, Oregon. ECF No. 35, ¶23. Farm Forward alleges that

   4 its mission is to end factory farming. Id. To that end, Farm Forward alleges that its

   5 staff and board members expended numerous hours working alongside

   6 representatives of Whole Foods Market to develop and create the criteria and

   7 standards for certifying various meat products, including beef products, as “Animal

   8 Welfare Certified” or “GAP certified” under the Global Animal Partnership’s

   9 (“GAP”) certification program. Id., ¶¶49-55 & 81-82. It also alleges that it

  10 expended resources promoting Whole Foods Market’s meat products as “better” and

  11 “best” choices to consumers based on the GAP and Animal Welfare certifications.

  12 Id., ¶¶82-85.

  13 B.     Plaintiffs’ Claims
  14        Plaintiffs claim that Whole Foods Market’s antibiotic representations, and its
  15 broader marketing campaign that restates and reinforces these representations, is

  16 false and misleading. ECF No. 35, ¶¶1 & 41-57. In particular, they claim that

  17 testing by plaintiff Farm Forward found that beef products sold at Whole Foods

  18 Market contain antibiotic and other pharmaceutical residues. Id., ¶¶1-2 & 59-61.

  19 Plaintiffs do not explain the method used to test the beef products, attach the testing

  20 results, identify which beef products were tested, nor allege that they tested the beef

  21 products purchased by the Individual Plaintiffs. Id. Regardless, the Individual

  22 Plaintiffs claim they have been injured because they would not have purchased or

  23 would not have paid as much for the beef products had they known the cattle used in

  24 the products were raised with antibiotics. Id., ¶¶15 & 22. Farm Forward claims it

  25 has been injured by expending resources in the alleged development and promotion

  26 of animal welfare standards and Whole Foods Market’s meat products, and its

  27

  28
                                              -4-               Case No. 8:22-CV-01562-JWH (KESx)
                                                             MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES     Document 46 Filed 01/10/23       Page 12 of 28 Page ID
                                     #:418



   1 subsequent investigation and marketing campaign to correct Whole Foods Market’s

   2 alleged misstatements. Id., ¶¶80-94.

   3        Based on these allegations, Plaintiffs assert claims of unlawful and deceptive
   4 business practices and advertising in violation of California’s Consumers Legal

   5 Remedies Act, Cal. Civ. Code §§ 1750, et seq. (“CLRA”), Unfair Competition Law,

   6 Cal. Bus. & Prof. Code §§17200, et seq. (“UCL), and False Advertising Law, Cal.

   7 Bus. & Prof. Code §§ 17500, et seq. (“FAL”), breach of express warranty, unjust

   8 enrichment, fraudulent concealment and intentional misrepresentation. ECF No. 35,

   9 ¶¶106-172. Plaintiffs bring their claims on behalf of themselves and “[a]ll persons

  10 who purchased a Beef Product from Whole Foods in California between 2017 and

  11 the present.” Id., ¶95. Plaintiffs demand restitution, actual damages, punitive

  12 damages and injunctive relief. Id. at p. 47:4-18.

  13 C.     Procedural History
  14        Plaintiffs, together with another consumer – Jason Rose, initiated this action
  15 against Whole Foods Market, Inc. (“WFMI”) in August 2022.2 See ECF No. 1.

  16 WFMI moved to dismiss the Complaint for lack of personal jurisdiction, failure to

  17 allege standing and a lack of particularity in October 2022. ECF No. 24. Plaintiff

  18 Jason Rose thereafter voluntarily dismissed his claims under Federal Rule of Civil

  19 Procedure 41(a) and the remaining Plaintiffs filed a First Amended Complaint

  20 (“FAC”), dropping WFMI as a defendant and naming WFM Services, WFM

  21 California and Mrs. Gooch’s in its place. See ECF Nos. 27 & 35. The FAC also

  22 added several allegations in an effort to address WFMI’s standing and particularity

  23 arguments, and added claims for breach of express warranty and intentional

  24

  25   2
       In November 2022, Girard Sharp LLP – one of the law firms representing
  26 Plaintiffs in this action – moved to withdraw as counsel of record because their
     client, plaintiff Jason Rose, had voluntarily dismissed his claims. See ECF No. 33.
  27
     The Court granted the motion by order entered on December 5, 2022. See ECF No.
  28 37.
                                             -5-               Case No. 8:22-CV-01562-JWH (KESx)
                                                            MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46 Filed 01/10/23        Page 13 of 28 Page ID
                                      #:419



   1 misrepresentation. See ECF No. 35-1. The Court denied WFMI’s motion to dismiss

   2 as moot based on the filing of the FAC. ECF No. 26.

   3        The Court held an Initial Scheduling Conference on December 13, 2022. See
   4 ECF No. 38. During the conference, the parties and Court discussed various

   5 pleadings defects Defendants contend exist in Plaintiffs’ FAC. The Court ordered

   6 the parties to meet and confer over these issues in order to resolve as much as

   7 possible by voluntary amendment before proceeding, if necessary, with motion

   8 practice. Id. The parties held an initial conference on December 20, 2022 and

   9 exchanged further communications detailing their positions and response positions

  10 on December 21, 22 and 30. The parties were able to resolve their dispute over

  11 CAFA jurisdiction, but Plaintiffs chose to stand on their current allegations in

  12 response to Defendants other pleading challenges.

  13                              III.   LEGAL ARGUMENT
  14 A.     Plaintiffs Fail to Plead the Necessary Facts to Establish Their Standing to
  15        Assert the Alleged Claims.
  16        Standing is a jurisdictional issue and may properly be addressed through a
  17 pleading challenge under Fed. R. Civ. P. 12(b)(1). See United States v. Hays, 515

  18 U.S. 737, 742 (1995); see also White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000)

  19 (party may challenge standing in Rule 12(b)(1) motion given that standing

  20 “pertain[s] to a federal court’s subject-matter jurisdiction under Article III.”.)

  21 Plaintiffs are “required to establish standing in [their] own right to bring

  22 substantially similar claims on behalf of others.” Mohamed v. Kellogg Co., No. 14-

  23 cv-02449-L, 2015 WL 12469107, *5 (S.D. Cal. Aug. 19, 2015). Plaintiffs have the

  24 burden of establishing standing. See Colwell v. Dept. of Health & Human Servs.,

  25 558 F.3d 1112, 1121 (9th Cir. 2009).

  26        Article III’s constitutional case-in-controversy requirements necessitate that,
  27 for each claim a plaintiff must allege: (1) an injury in fact that is concrete and

  28
                                               -6-               Case No. 8:22-CV-01562-JWH (KESx)
                                                              MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46 Filed 01/10/23        Page 14 of 28 Page ID
                                      #:420



   1 particularized, as well as actual and imminent; (2) that the injury is fairly traceable

   2 to the challenged action of the defendant; and (3) that it is likely (not merely

   3 speculative) that the injury will be redressed by a favorable decision. See Friends of

   4 the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 180-81 (2000). A

   5 concrete injury is one that is “distinct and palpable...as opposed to merely abstract.”

   6 Schmier v. United States Court of Appeals, 279 F.3d 817, 821 (9th Cir. 2009).

   7        A suit brought by a plaintiff without Article III standing is not a “case or
   8 controversy,” and an Article III federal court therefore lacks subject matter

   9 jurisdiction over the suit. See Cetacean Community v. Bush, 386 F.3d 1169, 1174

  10 (9th Cir. 2004). Claims brought under California’s CLRA, UCL, or FAL must also

  11 satisfy Article III standing requirements and the separate standing requirements of

  12 those statues. See Birdsong v. Apple, 590 F.3d 955, n.4 (9th Cir. 2009) (citing

  13 Cantrell v. City of Long Beach, 241 F.3d 674, 683 (9th Cir. 2001) (holding that a

  14 party asserting state law claims in federal court “must meet the stricter federal

  15 standing requirements of Article III.”); see also Joseph v. Ralphs Grocery Co., No.

  16 15-cv-9399-AB, 2016 WL 1056648, at *2 (C.D. Cal. Mar. 4, 2016) (dismissing

  17 UCL claims for lack of standing because plaintiff did not allege economic injury or

  18 causation).

  19        1.     The Individual Plaintiffs Failed to Allege a Particularized or
  20               Concrete Injury.
  21        The Individual Plaintiffs claim that they were deceived by the advertising
  22 statements “No Antibiotics, Ever” and “No antibiotics or added growth hormones,

  23 ever” into believing the beef products they purchased from Whole Foods Market

  24 were raised without the use of antibiotics. ECF No. 35, ¶¶12 & 19. Plaintiffs also

  25 allege that they tested an undisclosed number of undisclosed beef products

  26 purchased from Whole Foods Market stores in several states using an undisclosed

  27

  28
                                              -7-                Case No. 8:22-CV-01562-JWH (KESx)
                                                              MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46 Filed 01/10/23       Page 15 of 28 Page ID
                                      #:421



   1 method and detected an undisclosed amount of monensin sodium residue in a single

   2 unspecified product.3 Id., ¶¶59-60.

   3        Based on this single incident, Plaintiffs contend that all beef products sold at
   4 Whole Foods Market “were treated with antibiotics or other pharmaceuticals while

   5 being raised.” Id., ¶2. Further, they claim that they have been injured by

   6 purchasing beef products that were raised using antibiotics. Id., ¶15 & 22. Notably,

   7 the Individual Plaintiffs failed to allege any facts demonstrating that the beef

   8 products they personally purchased were raised with antibiotics or even that the

   9 unspecified beef product they tested was the same beef product they purchased or

  10 that the unspecified beef product, which tested positive for residue, was even

  11 purchased from the same store or region where they shopped. See gen., ECF No.

  12 35, ¶¶9-22.

  13        Plaintiffs also claim that Farm Forward’s testing revealed the presence of
  14 fenbendazole in five beef product samples purchased from Whole Foods Market

  15 stores in other states. See ECF No. 35, ¶61. Notably, as Plaintiffs acknowledge in

  16 their FAC, fenbendazole is not an antibiotic and its alleged presence in beef

  17 products does not support Plaintiffs’ claim of deception. Id. Even so, as with the

  18 alleged antibiotic testing, the FAC does not identify the date the beef products were

  19 purchased from Whole Foods Market, that any of the tested beef products came

  20 from the Southern Pacific Region, the specific type or brand of beef products, the

  21 name of the laboratory that performed the testing, the method of testing, or the

  22 amount of fenbendazole allegedly detected. Id. Thus, these alleged test results do

  23 not lend any support to Plaintiffs’ contention that all beef products sold at Whole

  24 Foods Market were raised using antibiotics.

  25

  26
       3
  27    As discussed in Section III.A.2 below, none of the other testing cited by Plaintiffs
  28
     is of Whole Foods Market’s beef products.
                                              -8-               Case No. 8:22-CV-01562-JWH (KESx)
                                                             MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46 Filed 01/10/23        Page 16 of 28 Page ID
                                      #:422



   1         Plaintiffs fail to allege a link between the specific beef product each of them
   2 bought, the representations they viewed, and the beef product that was subjected to

   3 testing. Just because some unspecified testing of an unidentified beef product

   4 allegedly revealed an undisclosed amount of monensin sodium residue,4 it does not

   5 follow that the beef products each Individual Plaintiff bought must have also been

   6 raised using antibiotics. Nor does it follow that all, a substantial portion, or even

   7 more than a single sample of Whole Foods Market’s beef products contain antibiotic

   8 residues and/or were raised with antibiotics. Indeed, the slaughterhouse testing cited

   9 by Plaintiffs (which is not specific to beef products sold at Whole Foods Market)

  10 suggests that most cattle, eighty-five percent (85%), came from lots where no cattle

  11 tested positive for antibiotics. See ECF No. 35, ¶¶62-63.

  12         Accordingly, Plaintiffs’ alleged injuries are neither particularized nor
  13 concrete. “Particularization is necessary to establish an injury in fact,” and for “an

  14 injury to be ‘particularized,’ it ‘must affect the plaintiff in a personal and individual

  15 way.”’ Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547-48 (2016). Moreover, a

  16 “concrete” injury must be ‘de facto’; that is, it must actually exist.” Id. at 1548. A

  17 concrete injury must be real and not abstract. Id.

  18         In Wallace v. ConAgra Foods, Inc., the plaintiffs alleged that Hebrew
  19 National beef products were not 100% kosher beef as advertised, based on

  20 allegations that certain slaughterhouses did not follow kosher rules. See Wallace v.

  21 ConAgra Foods, Inc., 747 F.3d 1025 (8th Cir. 2014). The Wallace plaintiffs tried to

  22 get around the speculation in their complaint by stating that it was “‘impossible for

  23 any reasonable consumer to detect whether purportedly kosher meat is non-kosher.”

  24

  25   Defendants also do not concede that the alleged presence of monensin sodium
       4


  26
     residue in a single unspecified product means that the cattle from which that product
     came was raised using antibiotics. The residue may have come from some type of
  27 contamination in the processing of that beef product, from the testing itself or from

  28
     some other source.
                                               -9-               Case No. 8:22-CV-01562-JWH (KESx)
                                                              MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46 Filed 01/10/23        Page 17 of 28 Page ID
                                      #:423



   1 Id. at 1030. But this made no difference. The Eighth Circuit dismissed the

   2 complaint because the plaintiffs’ “allegations fail[ed] to show that any of the

   3 particular packages of Hebrew National beef they personally purchased contained

   4 non-kosher beef” and plaintiffs “gave no reason to think all the beef marked as

   5 kosher under the quota did not meet kosher standards.” Id.

   6        The Eighth Circuit emphasized it could not “discern from the complaint how
   7 many packages were tainted with non-kosher beef,” and noted that it was “unclear

   8 whether even a bare majority of Hebrew National packages were not kosher.” Id.

   9 (citation omitted). Thus, the Court found that “it is pure speculation to say the

  10 particular packages sold to the [plaintiffs] were tainted by non-kosher beef” and

  11 dismissed the complaint because “the Supreme Court has reminded lower courts that

  12 speculation and conjecture are not injuries cognizable under Article III.” Id. at 1031

  13 (citation omitted). Similarly, in Pels v. Keurig Dr. Pepper, Inc., plaintiff alleged

  14 that defendants’ spring water contained excessive levels of arsenic. The district

  15 court found that plaintiff failed to plead a particularized injury because he failed to

  16 plead the spring water he purchased contained violative arsenic levels. Pels v.

  17 Keurig Dr. Pepper, Inc., No. 19-cv-03052-SI, 2019 WL 5813422, at *5 (N.D. Cal.

  18 Nov. 7, 2019).

  19        The Individual Plaintiffs cannot artfully plead around the injury in fact
  20 requirement by claiming that some other consumers allegedly purchased beef from

  21 Whole Foods Market raised with antibiotics. In Whitson v. Bumbo, consumer

  22 plaintiff alleged that the defendant manufacturer misrepresented the safety of its

  23 baby seat. See Whitson v. Bumbo, No. 07-cv-05597-MHP, 2009 WL 1515597, at *4

  24 (N.D. Cal. Apr. 16, 2009). Although the manufacturer warned consumers to never

  25 use the seat on a raised surface, the packaging contained photos depicting babies in

  26 seats on a table. Id. at *1. After receiving reports that children had fallen out of the

  27 seat, the seat was recalled. Id. at *2. The court dismissed the plaintiff’s claim on

  28
                                              -10-               Case No. 8:22-CV-01562-JWH (KESx)
                                                              MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46 Filed 01/10/23        Page 18 of 28 Page ID
                                      #:424



   1 standing grounds, concluding that she had failed to “allege any actual injury”

   2 because she did not allege that any baby fell from the seat she purchased. Id. Here,

   3 the Individual Plaintiffs similarly fail to allege any injury from the beef products

   4 they purchased. Indeed, while Individual Plaintiffs make the conclusory allegation

   5 they were economically harmed and “would not have paid the prices they did, had

   6 they known the truth that cattle used in the Products were raised with antibiotics,”

   7 they fail to show that the beef products they purchased were raised with antibiotics

   8 or allege facts from which the Court might infer that all or substantially all of the

   9 beef products sold at Whole Foods Market were raised using antibiotics. See ECF

  10 No. 35, ¶¶7, 59-60, 117, 133, 140 & 148.

  11        2.     The Individual Plaintiffs Have Not Alleged an Economic Injury
  12               Caused by Defendants’ Alleged Advertising
  13        In addition to the Article III standing requirements, Plaintiffs must also satisfy
  14 the specific standing requirements under the UCL, FAL, and CLRA to assert claims

  15 under those statutes. See Joseph v. Ralphs Grocery Co., supra, 2016 WL 1056648,

  16 at *2. To assert a UCL or FAL claim, a private plaintiff needs to have “suffered

  17 injury in fact and . . . lost money or property as a result of the unfair competition.”

  18 Cal. Bus. & Prof. Code §§ 17204 & 17535; Kwikset Corp. v. Sup. Ct., 51 Cal. 4th

  19 310, 321-322 (2011). Plaintiffs similarly must allege that they suffered economic

  20 injury as a result of Defendants’ advertising statements in order to establish standing

  21 under the CLRA. See Durell v. Sharp Healthcare, 183 Cal. App. 4th 1350, 1367

  22 (2010). Plaintiffs have not satisfied these statutory standings requirements for the

  23 same reasons articulated in Section III.A.1 above. They have not alleged facts

  24 plausibly demonstrating that they purchased beef products that came from cattle

  25 raised with antibiotics, nor sufficient facts from which the Court might infer that all

  26 beef products sold at Whole Foods Market are raised using antibiotics.

  27

  28
                                               -11-              Case No. 8:22-CV-01562-JWH (KESx)
                                                              MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46 Filed 01/10/23       Page 19 of 28 Page ID
                                      #:425



   1        3.     Farm Forward Lacks Standing to Assert its FAL and UCL Claims.
   2        In advancing its FAL and UCL claims, Farm Forward relies on organizational
   3 standing when it argues that its interests were hindered because Defendants

   4 allegedly falsely advertised their meat products as raised without antibiotics. To

   5 establish organizational standing under the FAL and UCL, Farm Forward bears the

   6 burden of showing that the advertising: (1) frustrated its organizational mission; and

   7 (2) forced Farm Forward to divert resources to avoid real harm. See Friends of the

   8 Earth v. Sanderson Farms, Inc., 992 F.3d 939, 942 (9th Cir. 2021); see also Havens

   9 Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982). These are additional elements

  10 beyond that required to establish associational standing under federal law. United

  11 Food & Commercial Workers Union Local 751 v. Brown Grp., Inc., 571 U.S. 544,

  12 552 (1996). Farm Forward fails to adequately plead the second element, diversion

  13 of resources, because it fails to adequately plead that it diverted resources to combat

  14 Defendants’ advertising versus merely going about its usual business.

  15        Organizations divert resources when they change resource allocation, not
  16 merely by going about their “business as usual.” Am. Diabetes Ass’n v. U.S. Dep.’t

  17 of the Army, 938 F.3d 1147, 1154 (9th Cir. 2019). Courts have found that merely

  18 continuing ongoing activities does not satisfy this requirement. Friends of the Earth

  19 v. Sanderson Farms, Inc., supra, 992 F.3d at 941-942 (finding that advocacy groups,

  20 whose missions related to protection of human health, animal health and the

  21 environment, failed to establish standing on their FAL and UCL claims regarding

  22 antibiotic use in chicken when the groups’ activities were continuation of their

  23 ongoing work); see also, In Defense of Animals v. Sanderson Farms, Inc. 2021 WL

  24 4243391, at **4-5 (N.D. Cal. Sept. 17, 2021).

  25 ///

  26 ///

  27 ///

  28
                                              -12-              Case No. 8:22-CV-01562-JWH (KESx)
                                                             MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES        Document 46 Filed 01/10/23      Page 20 of 28 Page ID
                                        #:426



   1           Farm Forward repeatedly admits that its mission is “to end factory farming.”5
   2 See ECF No. 35, ¶¶2 & 23. It attempts to establish organizational standing by

   3 alleging that it “significantly departed” from this mission when it allegedly tested

   4 Whole Foods Markets’ beef products for antibiotics and initiated a campaign to

   5 “expose Whole Foods’ (and other) companies’ false advertising of meat.” Id., ¶91.

   6 Other allegations in the FAC, however, reveal that these actions constituted

   7 “business as usual” for Farm Forward because it believes evidence of antibiotics in

   8 meat demonstrates that such meat came from factory farms. For instance, Farm

   9 Forward claims that “[d]ue to their poor genetic health and the crowded conditions

  10 in which they’re confined, animals on factory farms are often given drugs in

  11 subtherapeutic doses to promote growth and keep them alive in conditions that

  12 would otherwise stunt their growth and even kill them.” Id., ¶34 (emphasis added).

  13           Similarly, in a Farm Forward article cited in the FAC entitled “The Drugs
  14 Farm Forward Found Hiding in Your Meat,” Farm Forward states “[b]ecause GAP

  15 has shown a pattern of catering to the industry by welcoming modified factory farms

  16 into its program, we suspected that drugs may be present in the meat it certifies.”

  17 ECF No. 35, fn. 12 at p. 2 (emphasis added). In that same article, Farm Forward

  18 claims that it discovered two antiparasitic drugs in Whole Foods Market’s meat and

  19 that while those drugs were “technically permitted within GAP’s Animal Welfare

  20 Certified program,” they were “routinely used on factory farms” and their use was

  21 “worrisome.” ECF No. 35, fn. 12 at p. 3. Farm Forward goes on to state, “these

  22 drugs are often used prophylactically to prevent densely packed animals on factory

  23 farms from falling ill…” Id. Finally, Farm Forward opines that “[i]ts time for GAP

  24 and Whole Foods to commit to phase out all factory farm practices for all of the

  25

  26   5
           Notably, Farm Forward fails to specifically define anywhere in the FAC (perhaps
  27 purposefully to avoid undermining its standing allegations) what it believes

  28
       constitutes “factory farming.”
                                               -13-              Case No. 8:22-CV-01562-JWH (KESx)
                                                              MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES     Document 46 Filed 01/10/23       Page 21 of 28 Page ID
                                     #:427



   1 operations they certify and sell, and to do more to promote plant-based

   2 alternatives…” Id.

   3        In another article cited in the FAC entitled “Farm Forward Finds Drugs in
   4 Certified Meat at Whole Foods,” Farm Forward further reveals that its campaign

   5 against Whole Foods was merely a continuation of its core mission to end factory

   6 farming. It states:

   7               In reality, factory farmed products dominate Whole
   8
                   Foods’ supply chain despite charging customers up to
                   40 percent more for Animal Welfare Certified products.
   9               Antibiotics and other drugs are used widely on factory
  10               farms to keep animals alive in cruel and filthy conditions
                   that may otherwise kill them. Farm Forward’s findings
  11               should raise serious doubts in the minds of consumers
  12               about Whole Foods’ and GAP’s ability to prevent
                   animals from suffering on factory farms and to keep
  13               products with drug residues from ending up on store
  14               shelves.

  15 See ECF No. 35, fn. 18 at p. 2 (emphasis added). At the conclusion of that article in

  16 a heading entitled “End Factory Farming,” Farm Forward again opines, “It’s time

  17 for GAP’s Animal Welfare Certified program and Whole Foods to commit to stop

  18 selling factory farmed products all together. Until they stop selling factory farmed

  19 products, the best way for consumers to avoid unwanted drugs in their food is to

  20 avoid animal products whenever possible. Sign our petition…to tell Whole Foods

  21 to take factory farmed products off their shelves.” ECF No. 35, fn. 18 at p. 3

  22 (emphasis in original). These statements show that contrary to the conclusory

  23 statement in the FAC that Defendants’ alleged misleading advertising caused Farm

  24 Forward to “depart[] from Farm Forward’s longstanding anti-factory farming

  25 focus,” Farm Forward’s repeated attacks against “Whole Foods” constituted

  26 business as usual in furtherance of its mission to end factory farming and practices it

  27 associates with factory farming. See ECF No. 35, ¶80.

  28
                                             -14-              Case No. 8:22-CV-01562-JWH (KESx)
                                                            MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES         Document 46 Filed 01/10/23       Page 22 of 28 Page ID
                                         #:428



   1            It is clear from the FAC that the activities Farm Forward contends constitute
   2 its response to the alleged discovery of the use of pharmaceuticals in Defendants’

   3 meat products was standard-issue advocacy work by Farm Forward. As a matter of

   4 law, Farm Forward cannot establish that it “diverted resources” when its campaign

   5 against Whole Foods Market was a continuation of its ongoing work to end factory

   6 farming. It would “effectively nullify the constitutional requirement of standing” if

   7 Farm Forward could establish standing “by virtue of investigating conduct or

   8 starting a new campaign against someone who frustrates its general mission.” In

   9 Defense of Animals v. Sanderson Farms, Inc., supra, 2021 WL 4243391, at *4.

  10 B.         Plaintiffs’ Fraud Claims Fail for Lack of Particularity
  11            A party alleging fraud must “state with particularity the circumstances
  12 constituting fraud.”6 Fed. R. Civ. P. 9(b). This heightened standard requires a

  13 pleader state the time, place and specific content of the false representations. See

  14 Odom v. Microsoft Corp., 486 F.3d 541, 553 (9th Cir. 2007). The allegations “must

  15 set forth more than neutral facts necessary to identify the transaction. The plaintiff

  16 must set forth what is false or misleading about the statement, and why it is false.”

  17 Vess v. Ciba-Geigy Corp USA, 317 F.3d 1097, 1106 (9th Cir. 2003) (emphasis

  18 added.) “The circumstances constituting the alleged fraud [must] be specific enough

  19 to give defendants notice of the particular misconduct…so that they can defend

  20 against the charge and not just deny that they have done anything wrong.” Id.

  21 (ellipsis original and internal quotation marks omitted).

  22            “Rule 9(b) serves three purposes: (1) to provide defendants with adequate
  23 notice to allow them to defend the charge and deter plaintiffs from the filing of

  24   6
           Rule 9(b) applies to Plaintiffs’ fraudulent concealment and intentional
  25 misrepresentation claims, as well as their claims for violation of California’s CLRA,

  26
     UCL and FAL. State law claims that allege a unified course of fraudulent conduct
     are “‘grounded in fraud’” or []‘sound in fraud,’ and the pleading of [those] claim[s]
  27 as a whole must satisfy the particularity requirement of Rule 9(b).” Vess v. Ciba-

  28
     Geigy Corp. USA, 317 F.3d 1097, 1103–1104 (9th Cir. 2003).
                                                 -15-              Case No. 8:22-CV-01562-JWH (KESx)
                                                                MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46 Filed 01/10/23        Page 23 of 28 Page ID
                                      #:429



   1 complaints as a pretext for the discovery of unknown wrongs; (2) to protect those

   2 whose reputation would be harmed as a result of being subject to fraud charges; and

   3 (3) to prohibit [ ] plaintiff[s] from unilaterally imposing upon the court, the parties

   4 and society enormous social and economic costs absent some factual basis.” Levay

   5 v. AARP, Inc., No. 17-cv-09041-DDP, 2019 WL 2108124, at *6 (C.D. Cal. May 14,

   6 2019) (internal quotation marks omitted).

   7        These heightened pleading requirements are equally applicable to fraud
   8 claims based on omissions or nondisclosures by a defendant. See Kearns v. Ford

   9 Motor Co., 567 F.3d 1120, 1127 (9th Cir. 2009) (“Because the Supreme Court of

  10 California has held that nondisclosure is a claim for misrepresentation in a cause of

  11 action for fraud, it (as any other fraud claim) must be pleaded with particularity

  12 under Rule 9(b).”); see also Hall v. Sea World Entertainment, Inc., No. 15-cv-660-

  13 CAB, 2015 WL 9659911, at *2 (S.D. Cal. Dec. 23, 2015). Plaintiffs’ FAC fails to

  14 meet Rule 9(b)’s heighted pleading standard because Plaintiffs fail to plead with

  15 particularity the why (why those statement are false), and the how (which products

  16 Plaintiffs purchased and how were they injured).

  17        The gravamen of Plaintiffs’ claims is their contention that Whole Foods
  18 Market represented its beef products as “made from cattle raised without

  19 antibiotics,” but, in fact, “Whole Foods’ Beef Products were raised with antibiotics

  20 and other pharmaceuticals.” ECF No. 35, ¶¶110, 130, 138, 143, 152, 156 & 168.

  21 Plaintiffs claim that they relied on Whole Foods Market’s statements prior to

  22 purchasing unspecified beef products. Plaintiffs, however, failed to state with any

  23 particularity the facts to support their conclusory allegation that Whole Foods

  24 Market’s beef products were in fact raised with antibiotics, and how they relied

  25 upon Whole Foods Market’s statements—that is, what products did Plaintiffs

  26 purchase in reliance on Whole Foods Market’s statements?

  27

  28
                                              -16-               Case No. 8:22-CV-01562-JWH (KESx)
                                                              MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46 Filed 01/10/23        Page 24 of 28 Page ID
                                      #:430



   1        Plaintiffs claim that Defendants’ representations are false because Farm
   2 Forward tested “meat products” from Whole Foods Market and the testing results

   3 revealed the presence of monensin sodium residue in a single beef product

   4 purchased from a store in San Francisco. ECF No. 35, ¶¶2 & 59-60. These bare

   5 allegations leave out all the particularity of the alleged fraud. The FAC does not

   6 identify the date the beef product was purchased from Whole Foods Market or

   7 whether the same or a similar beef product is sold in the Southern Pacific Region

   8 (where the Individual Plaintiffs regularly shop), the specific beef product purchased

   9 and tested, the name of the laboratory that performed the testing, the method of

  10 testing, or the amount of antibiotic allegedly detected. Without this required

  11 information Defendants cannot defend against Plaintiffs’ allegations.

  12        Plaintiffs also allude to a peer-reviewed study which they claim shows Whole
  13 Foods Market’s beef products were raised with antibiotics. ECF No. 35, ¶62.

  14 Neither the allegations in the FAC nor the study itself, however, identify the

  15 slaughterhouse where the testing took place and there is no evidence that beef

  16 products from that slaughterhouse were sold at Whole Foods Market stores or, more

  17 particularly, stores in California. Id., ¶62. Plaintiffs also cite to a Consumer

  18 Reports study that found antibiotic resistant bacteria in chicken. Id., ¶64. Again,

  19 antibiotic resistant bacteria in chicken does not show that beef products sold by

  20 Whole Foods Market were raised by antibiotics.

  21        The length of Plaintiffs’ FAC should not be conflated with the particularity of
  22 Plaintiffs’ allegations of fraud. See Hall v. Sea World Entertainment, supra, 2015

  23 WL 9659911, at *10 (“Although the FAC spends close to seventy pages discussing

  24 the conditions of the whales at SeaWorld, as well as statements purportedly made by

  25 SeaWorld related thereto, simply listing statements and saying they are false does

  26 not satisfy Rule 9(b).”). Plaintiffs must specifically allege how and why Whole

  27 Foods’ statements are false and they have failed to do so.

  28
                                              -17-              Case No. 8:22-CV-01562-JWH (KESx)
                                                             MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46 Filed 01/10/23       Page 25 of 28 Page ID
                                      #:431



   1        Additionally, Plaintiffs fail to allege they relied on Whole Foods Market’s
   2 representations. In particular, Plaintiffs fail to identify what beef product they

   3 purchased in reliance on Defendants’ statements and how they were injured by those

   4 purchases. Instead, Plaintiffs lump together all beef products sold by Whole Foods

   5 Market around the country and claim they purchased some unspecified products in

   6 reliance on Whole Foods Market’s representation. See ECF No. 35, ¶¶1-2, 12 & 19

   7 and 4. This does not satisfy Rule 9(b). Defendants need to know which products

   8 Plaintiffs purchased so that it can respond to the fraud allegations.

   9        For example, if Plaintiffs purchased a packaged and branded beef product
  10 (e.g., Eel River Organic Ground Beef, Country Natural Beef Ground Beef, Honest

  11 Dogs, Rao’s Meatballs, Wellshire Farms Beef Bologna, etc.), the claims made on

  12 the product labels would be preempted by labeling requirements in the Federal Meat

  13 Inspection Act (FMIA). See Meaunrit v. The Pinnacle Foods Group, LLC, No. 09-

  14 cv-04555 CW, 2010 WL 1838715, at *7 (N.D. Cal., May 5, 2010). Further, many

  15 beef products are produced and labeled by other companies and Defendants have no

  16 control over their labels. Moreover, if Farm Forward tested a branded beef product,

  17 then their results cannot be extrapolated to implicate every single beef product sold

  18 at Whole Foods Market nor possibly the beef products purchased by the Individual

  19 Plaintiffs. These details are necessary for Defendants to defend themselves and are

  20 required by Rule 9(b).

  21 C.     Plaintiffs’ Express Warranty and Unjust Enrichment Claims Fails.
  22        Plaintiffs fails to adequately plead claims for breach of express warranty and
  23 unjust enrichment. As an initial matter, because Plaintiffs allege a “unified course

  24 of fraudulent conduct and rely entirely on that course of conduct as the basis of” all

  25 of their claims, these claims are subject to—and fail to meet—the same heightened

  26 pleading requirements described in Section III.B above, and should be dismissed for

  27 that reason alone. See Vess v. Ciba-Geigy Corp. USA, supra, 317 F.3d at 1103-04;

  28
                                              -18-              Case No. 8:22-CV-01562-JWH (KESx)
                                                             MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46 Filed 01/10/23       Page 26 of 28 Page ID
                                      #:432



   1 see also In re Arris Cable Modem Consumer Litig., No. 17-cv-01834-LHK, 2018

   2 WL 288085, at *10 (N.D. Cal. Jan. 4, 2018). Regardless, these claims fail at the

   3 pleading stage for independent reasons.

   4        1.     Plaintiffs’ Express Warranty Claims Fail.
   5        “To plead an action for breach of express warranty under California law, a
   6 plaintiff must allege: (1) the exact terms of the warranty; (2) reasonable reliance

   7 thereon; and (3) a breach of warranty which proximately caused plaintiff's injury.”

   8 Sanders v. Apple Inc., 672 F. Supp .2d 978, 986–87 (N.D. Cal. 2009) (citation

   9 omitted). The Court should dismiss this claim because the Individual Plaintiffs do

  10 not allege sufficient facts demonstrating they purchased beef products raised using

  11 antibiotics. As detailed in Section III.B above, the Individual Plaintiffs do not

  12 alleged facts demonstrating they purchased the same beef product, or even the same

  13 category of beef product (e.g., ground beef, butcher cut beef products, meatballs, hot

  14 dogs, etc.), that allegedly tested positive for antibiotic residue. See ECF No. 35,

  15 ¶¶12-22. Thus, they have not alleged the facts necessary to stating their claim for

  16 breach of warranty.

  17        2.     Plaintiffs’ Unjust Enrichment Claims Fail.
  18        Plaintiffs’ claim for unjust enrichment should be dismissed because there is
  19 no stand-alone claim under California law. See McBride v. Boughten, 123 Cal. App.

  20 4th 379, 387 (2004), quoting Melchior v. New Line Products, Inc., 106 Cal. App. 4th

  21 779, 793 (2003) (stating unjust enrichment is a “general principle underlying various

  22 legal doctrines and remedies;” it is not an independent cause of action); Krause-

  23 Pettai v. Unilever United States, Inc., No. 20-cv-1672-DMS, 2021 WL 1597931, at

  24 *7 (S.D. Cal., Apr. 23, 2021); Barrett v. Optimum Nutrition, No. CV21-4398-DMG

  25 (SKX), 2022 WL 2035959 (C.D. Cal. Jan. 12, 2022). Further, because Plaintiffs’

  26 unjust enrichment claim is predicated on the same facts and allegations as their other

  27 claims, which fail for the reasons detailed above, the Court should not construe the

  28
                                              -19-              Case No. 8:22-CV-01562-JWH (KESx)
                                                             MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES      Document 46 Filed 01/10/23       Page 27 of 28 Page ID
                                      #:433



   1 claim as a quasi-contract claim. Choi v. Kimberly-Clark Worldwide, Inc., No. 19-

   2 cv-0468-DOC, 2019 WL 4894120, *13 (C.D. Cal. Aug. 28, 2019) (“there must be

   3 an underlying claim that a defendant has been unjustly conferred a benefit through

   4 mistake, fraud, coercion, or request.”).

   5                                 IV.     CONCLUSION
   6        For the reasons stated set forth above, and because Plaintiffs were already
   7 given opportunities to amend, the Court should grant Defendants’ Motion and

   8 Dismiss the FAC with prejudice for lack of standing to assert the alleged claims and

   9 lack of particularity required for claims based in fraud.

  10 Dated: January 10, 2023                 BLAXTER | BLACKMAN LLP
  11

  12
                                       By:              /s/ Brian R. Blackman
  13
                                                      BRIAN R. BLACKMAN
  14                                         Attorneys For Defendants WHOLE FOODS
  15
                                               MARKET SERVICES, INC.; WHOLE
                                              FOODS MARKET CALIFORNIA, INC.;
  16                                            MRS. GOOCH’S NATURAL FOOD
  17
                                                          MARKETS, INC.

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                -20-            Case No. 8:22-CV-01562-JWH (KESx)
                                                             MPA ISO DEF.’S MTN. TO DISMISS FAC
Case 8:22-cv-01562-JWH-KES     Document 46 Filed 01/10/23     Page 28 of 28 Page ID
                                     #:434



   1                         CERTIFCATE OF COMPLIANCE
   2        The undersigned, counsel of record for defendants Whole Foods Market
   3 Services, Inc., Whole Foods Market California, Inc. and Mrs. Gooch’s Natural Food

   4 Markets, Inc., certifies that this Memorandum of Points and Authorities contains

   5 6,073 words, as reported by the word count function of the word-processing system

   6 used to prepare this memorandum, which complies with the word limit of L.R. 11-

   7 6.1.

   8 Dated: January 10, 2023               BLAXTER | BLACKMAN LLP
   9

  10
                                     By:              /s/ Brian R. Blackman
  11                                                BRIAN R. BLACKMAN
                                                    Attorneys For Defendants
  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                            -21-             Case No. 8:22-CV-01562-JWH (KESx)
                                                          MPA ISO DEF.’S MTN. TO DISMISS FAC
